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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


                                                )
 League of United Latin American Citizens –     )
 Richmond Region Council 4614, et al.,          )
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      ) Civil Action No. 1:18-cv-00423-LO-IDD
                                                )
 PUBLIC INTEREST LEGAL                          )
 FOUNDATION, an Indiana Corporation,            )
 and J. CHRISTIAN ADAMS,                        )
                                                )
                Defendants.                     )
                                                )
                                                )


      NOTICE OF SUBMISSION OF REDACTED PREVIOUSLY FILED EXHIBITS

        Pursuant to Federal Rule of Civil Procedure 5.2, Local Rule 7(c), and this Court’s order

 on the Parties’ Joint Motion to Selectively Seal Previously Filed Exhibits [Dkt. No. 220], the

 Parties, by counsel, respectfully file this Notice of Submission of Redacted Previously Filed

 Exhibits.

 Dated: August 6, 2019

 Respectfully submitted,                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I, Nicole Cleminshaw, hereby certify that on August 6, 2019, I electronically filed the

 foregoing Notice of Submission of Redacted Previously Filed Exhibits using the CM/ECF

 system, which shall send notification of such filing (NEF) to the following counsel of record:

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